             Case 5:18-cv-05919-BLF Document 44 Filed 02/06/19 Page 1 of 7



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 9
     Attorneys for Plaintiff COURTNEY SILVERMAN
10

11                                        UNITED STATES DISTRICT COURT
12                                     NORTHERN DISTRICT OF CALIFORNIA
13

14    COURTNEY SILVERMAN, individually and on )            Case No.: 5:18-cv-05919-BLF
      behalf of all others similarly situated,  )
15                                              )          JOINT STIPULATION TO MODIFY
                           Plaintiffs,          )          BRIEFING SCHEDULES AND TO
16                                              )          FURTHER CONTINUE CASE
              vs.                               )          MANAGEMENT CONFERENCE
17                                              )
      MOVE, INC., a California Corporation, and )          [PROPOSED] ORDER
18    NATIONAL ASSOCIATION OF REALTORS, )
      an Illinois Corporation,                  )
19                                              )
                          Defendants.           )
20                                              )
                                                )
21                                              )
22
               WHEREAS, Plaintiff COURTNEY SILVERMAN (“Plaintiff”) filed her Class Action
23
     Complaint (Dkt. No. 1) on September 26, 2018;
24
               WHEREAS, pursuant to stipulated extensions (Dkt. Nos. 11 and 24), on December 10, 2018,
25
     NAR filed a Motion to Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim
26
     (“NAR’s Motion to Dismiss”) (Dkt. No. 25), and Move filed a Motion to Compel Arbitration and to
27
     Dismiss, or in the Alternative, to Stay, the Case (Dkt. No. 27) (“Move’s Motion to Dismiss”);
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       [1810567/1]
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                 JOINT   STIPULATION TO MODIFY BRIEFING SCHEDULES RE DKT. NOS. 25 AND 27
     DM2\9648974.1                          [PROPOSED] ORDER
             Case 5:18-cv-05919-BLF Document 44 Filed 02/06/19 Page 2 of 7




 1             WHEREAS, the deadline for Plaintiff to respond to Defendants’ pending Motions was
 2   January 28, 2019, and the hearings are presently scheduled for May 23, 2019, at 9:00 a.m.;
 3             WHEREAS, on January 23, 2019, Defendant Move filed an Amended Motion to Dismiss
 4   (Dkt. No. 37);
 5             WHEREAS, Plaintiff’s Response to Move’s Amended Motion to Dismiss is currently due on
 6   February 6, 2019;
 7             WHEREAS, on January 23, 2019, the parties filed a Joint Stipulation to Continue the Case
 8   Management Conference (“CMC”) for six (6) weeks, to March 21, 2019, to allow the parties
 9   additional time to further meet and confer regarding a potential modification of the briefing schedule
10   and regarding an additional continuance of the CMC until after the hearing on Defendants’ Motions
11   (Dkt. No. 39);
12             WHEREAS, on January 28, 2019 (per Dkt. No. 29), in lieu of filing a Memorandum in
13   Opposition to NAR’s Motion to Dismiss, Plaintiff filed a First Amended Complaint;
14             WHEREAS, on February 4, 2019, Defendants filed a Motion to Strike Plaintiff’s Amended
15   Complaint with a hearing date set for June 27, 2019 (Dkt. No. 43);
16             WHEREAS, a ruling on the Motion to Strike will determine which of Plaintiff’s two (2)
17   pleadings is operative. For this reason, Plaintiff requests and Plaintiff and Defendants stipulate,
18   pursuant to Civil L.R. 6-2 and the Court’s Standing Order Re Civil Cases, and subject to the Court’s
19   approval, to the following:
20             •     Plaintiff will respond to Defendants’ Motion to Strike by or before March 10, 2019, and
21                   Defendants will file a reply by or before March 25, 2019;
22             •     A hearing on the Motion to Strike shall take place on May 23, 2019, the date previously
23                   scheduled for Defendants’ motions to dismiss, and the hearing on Defendants’ motion to
24                   dismiss will be rescheduled as set forth below;
25             •     If the Court denies Defendants’ Motion to Strike, Defendants shall have twenty (20) days
26                   to renew their motions to dismiss or otherwise respond to Plaintiff’s Amended
27                   Complaint;
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     DM2\9648974.1                          [PROPOSED] ORDER
              Case 5:18-cv-05919-BLF Document 44 Filed 02/06/19 Page 3 of 7




 1             •     If the Court grants Defendants’ Motion to Strike, Plaintiff shall have twenty (20) days to
 2                   respond to Defendant Move’s Amended Motion to Dismiss, and Move will have ten (10)
 3                   days thereafter to file a reply brief in support of its Amended Motion to Dismiss;
 4             •     If necessary, the Court will set a hearing on Defendants’ motions to dismiss for the
 5                   earliest available hearing date at least thirty-five (35) days from a ruling denying the
 6                   Motion to Strike;
 7             WHEREAS, the parties further request and stipulate to, subject to the Court’s approval, a
 8   continuance of the CMC until July 12, 2019, seven (7) weeks after the May 23, 2019 hearing on
 9   Defendants’ Motion to Strike;
10             WHEREAS, this stipulation is not made for any improper purpose and will not prejudice any
11   party;
12             WHEREAS, this stipulation is not intended to operate as an admission of any factual
13   allegation or legal conclusion and is submitted subject to and without waiver of any rights, defenses,
14   affirmative defenses, or objections, including personal jurisdiction, insufficient process, or
15   insufficient service of process; and
16             WHEREAS, the requested modifications will not otherwise impact the schedule for the case;
17                                                     STIPULATION
18             NOW, THEREFORE, Plaintiff and Defendants stipulate and agree as follows:
19             1.       Pursuant to Civil L.R. 6-2 and the Court’s Standing Order Re Civil Cases, and subject
20   to the Court’s approval, the parties stipulate that:
21             •     Plaintiff will respond to Defendants’ Motion to Strike by or before March 10, 2019,
22                   Defendants’ will file a reply by or before March 25, 2019;
23             •     A hearing on the Motion to Strike shall take place on May 23, 2019, the date previously
24                   scheduled for Defendants’ motions to dismiss, and the hearing on Defendants’ motion to
25                   dismiss will be rescheduled as set forth below;
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             Case 5:18-cv-05919-BLF Document 44 Filed 02/06/19 Page 4 of 7




 1             •     If the Court denies Defendants’ Motion to Strike, Defendants shall have twenty (20) days
 2                   to renew their Motions to Dismiss or otherwise respond to Plaintiff’s Amended
 3                   Complaint;
 4             •     If the Court grants Defendants’ Motion to Strike, Plaintiff shall have twenty (20) days to
 5                   respond to Defendant Move’s Amended Motion to Dismiss. Thereafter, Move will have
 6                   ten (10) days to file a reply brief in support of its Amended Motion to Dismiss;
 7             •     If necessary, the Court will set a hearing on Defendants’ motions to dismiss for the
 8                   earliest available hearing date at least thirty-five (35) days from a ruling denying the
 9                   Motion to Strike;
10             •     the CMC is continued until 11:00 am on July 12, 2019, seven (7) weeks after the May 23,
11                   2019 hearing on Defendants’ Motion to Strike;
12             2.       By entering this Stipulation, the Parties do not admit any factual allegation or legal
13   conclusion and do not waive any rights, defenses, affirmative defenses, or objections, including
14   personal jurisdiction, insufficient process, or insufficient service of process.
15
     DATED: February 6, 2019
16                                             FLAHERTY HENNESSY, LLP

17                                             By: /s/Sarah L. Hennessy
                                                   Sarah L. Hennessy
18                                                 Attorneys for Plaintiff
                                                   COURTNEY SILVERMAN
19

20   DATED: February 6, 2019                   ZEBERSKY PAYNE SHAW LEWENZ, LLP

21                                             By: /s/Jordan A. Shaw**
                                                  Jordan A. Shaw
22                                                Attorneys for Plaintiff
                                                  COURTNEY SILVERMAN
23

24                                                  **Pursuant to Civ. L.R. 5-1(i)(3), the electronic signatory
                                                    has obtained approval from all other signatories
25
     DATED: February 6, 2019             DUANE MORRIS, LLP
26                                           By: /s/Michael L. Fox
27                                              Michael L. Fox

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             Case 5:18-cv-05919-BLF Document 44 Filed 02/06/19 Page 5 of 7



                                              Robin McGrath
 1                                            Rebecca M. Lamberth
                                              Kenneth B. Franklin
 2                                            Duane Morris, LLP
                                              Attorneys for Defendants
 3
                                              MOVE, INC., and NATIONAL ASSOCIATION OF
 4                                            REALTORS

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     DM2\9648974.1                          [PROPOSED] ORDER
             Case 5:18-cv-05919-BLF Document 44 Filed 02/06/19 Page 6 of 7




                                              [PROPOSED] ORDER
 1

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED:

 3             1.      Plaintiff will respond to Defendants’ Motion to Strike by or before March 10, 2019,

 4   Defendants’ will file a reply by or before March 25, 2019;
 5
               2.      A hearing on the Motion to Strike shall take place on May 23, 2019, the date
 6
     previously scheduled for Defendants’ motions to dismiss, and the hearing on Defendants’ motion to
 7
     dismiss will be rescheduled as set forth below;
 8
               3.      If the Court denies Defendants’ Motion to Strike, Defendants shall have twenty (20)
 9

10   days to renew their motions to dismiss or otherwise respond to Plaintiff’s Amended Complaint;

11             4.      If the Court grants Defendants’ Motion to Strike, Plaintiff shall have twenty (20) days
12   to respond to Defendant Move’s Amended Motion to Dismiss. Thereafter, Move will have ten (10)
13
     days to file a reply brief in support of its Amended Motion to Dismiss;
14
               5.      If necessary, the Court will set a hearing on Defendants’ motions to dismiss for the
15
     earliest available hearing date at least thirty-five (35) days from a ruling denying the Motion to
16

17   Strike;

18             6.      The CMC is continued until 11:00 am on July 12, 2019, seven (7) weeks after the

19   May 23, 2019 hearing on Defendants’ Motion to Strike;
20             7.      By entering their Stipulation, the Parties have not admitted any factual allegation or
21
     legal conclusion and have not waived any rights, defenses, affirmative defenses, or objections,
22
     including personal jurisdiction, insufficient process, or insufficient service of process.
23
     DATED: February ______, 2019.
24

25                                                          _________________________________
                                                            The Honorable Beth Labson Freeman
26                                                           United States District Court Judge

27

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